Case 1:05-cr-01849-JCH

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
Plaintiff,
vs.

DANA JARVIS a/k/a Todd Ward,
AYLA JARVIS,

BENJAMIN SWENTNICKAS a/k/a
“Doc,”

DENNIS WILSON a/k/a “Big Dennis,"
GEORGE RIPLEY,

DAVID REID,

JOHN PATRICIO NIETO a/k/a
“Townman” a/k/a “Big John,”

LLOYD MONTOYA a/k/a “Smiley,”
GEORGE OSGOOD a/k/a “Mushroom
George,”

GREG HILL,

GENO BERTHOD a/k/a “Old Man,”
RUSSELL TRUJILLO a/k/a “Rusty,”
MATTHEW HOTHAN a/k/a “Matrix,”
MANUEL GIL a/k/a “Manny,”
MELANIA KIRWIN a/k/a Mila Kirwin,
HOLLY BRUNER a/k/a “Q,”

SAM JONES,

BILL JONES a/k/a Charles Johnston,
DAKOTA FITZNER,

RAFAL MISTRZAK,

MARY CANNANT, and

ADRIAN SANFORD,

Defendants.

Document 430-1

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CRIMINAL NO. 05-1849 JH

Count 1: 21 U.S.C. § 846 -
Conspiracy to Distribute 1000
Kilograms and More of Marijuana;

Count 2: 21 U.S.C. § 848 -
Continuing Criminal Enterprise;

Count 3: 18 U.S.C. § 1956(h) —
Conspiracy to Launder Money;

Counts 4 - 26: 18 U.S.C.
§§ 1956(a)(1)(A)(i) and (a)(1)(B(i) —
Money Laundering;

18 U.S.C. § 982 and 21 U.S.C.
§ 853: Criminal Forfeiture.

SUPERSEDING INDICTMENT

The Grand Jury charges:

COUNT 1

From approximately 1990, the precise date being unknown to the Grand Jury, up

to and including August 25, 2005, in the State and District of New Mexico, and
elsewhere, the defendants, DANA’ JARVIS a/k/a Todd Ward, AYLA JARVIS,
BENJAMIN SWENTNICKAS a/k/a “Doc,” DENNIS WILSON a/k/a “Big Dennis,”

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GEORGE RIPLEY, DAVID REID, JOHN PATRICIO NIETO a/k/a “Townman’” a/k/a “Big
John,” LLOYD MONTOYA a/k/a “Smiley,” GEORGE OSGOOD a/k/a “Mushroom
George,” GREG HILL, GENO BERTHOD a/k/a “Olid Man,” RUSSELL TRUJILLO a/k/a
“Rusty,” MATTHEW HOTHAN a/k/a “Matrix,” MANUEL GIL a/k/a “Manny,” MELANIA
KIRWIN a/k/a Mila Kirwin, HOLLY BRUNER a/k/a "Q,” SAM JONES, BILL JONES
a/k/a Charles Johnston, DAKOTA FITZNER, RAFAL MISTRZAK, MARY CANNANT,
and ADRIAN SANFORD, did unlawfully, knowingly and intentionally combine, conspire,
confederate and agree with each other and with other persons whose names are known
and unknown to the grand jury to distribute 1000 kilograms and more of marijuana, a
schedule } controlled substance, contrary to 21 U.S.C. §§ 841(a}(1) and (b)(1)}(A).
Manner and Means of the Conspiracy

During the course of the conspiracy, the defendants and other unindicted co-
conspirators participated in a collective endeavor, organized and supervised by
defendant Dana Jarvis, to distribute marijuana for profit. Dana Jarvis obtained bulk
wholesale quantities of marijuana from sources of supply in the Tucson, Arizona area,
including defendant BENJAMIN Swentnickas and unindicted co-conspirators Jorge Luis
Ortiz-Moffett, “Navigator,” and Dennis Cox. Prior to purchase, the marijuana was
inspected for quality by Dana Jarvis and/or another member of the conspiracy, including
Dana Jarvis’s daughter, defendant Ayla Jarvis. The marijuana was then weighed and
wrapped by members of the conspiracy, including defendants Manuel Gil, Dennis
Wilson, Melania Kirwin, Holly Brunner, Matthew Hothan, Sam Jones, and Adrian
Sanford at “stash house” locations in the Tucson area.

Generally, the bulk marijuana was transported by members of the conspiracy,
including defendants Russell Trujillo, Lloyd Montoya, and Dakota Fitzner, from the
Tucson area to New Mexico where it was stored at additional stash houses maintained

by Dana Jarvis and/or other members of the conspiracy, including defendants Mary
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Cannant, Dakota Fitzner, and Dennis Wilson. From the New Mexico stash houses,
marijuana was transported by members of the conspiracy, including defendants George
Ripley and Dakota Fitzner, to various locations throughout the United States, to include
the Denver, Colorado area; Columbus, Ohio; and Bloomington, Indiana. Although the
marijuana was generally transported in duffel bags by motor vehicle, in the summer of
2005 the marijuana was also transported in suitcases aboard aircraft piloted by
defendant David Reid.

From the Denver area, defendant Geno Berthod transported the marijuana to the
east coast of the United States. In Bloomington, defendant Greg Hill re-distributed the
marijuana for profit. in Columbus the marijuana was re-distributed for profit by
unindicted co-conspirators.

The proceeds from the distribution of the marijuana, in the form of United States
currency, were transported back to New Mexico, either by motor vehicle driven by
members of the conspiracy, including defendants Dakota Fitzner, Rafal Mistrzak and
George Osgood, or aboard aircraft piloted by defendant David Reid. In New Mexico,
the proceeds would be delivered to members of the conspiracy who would count the
proceeds. Some or all of the proceeds were then transported by members of the
conspiracy, including defendant John Nieto, to an unindicted co-conspirator in Tucson
for safekeeping. Dana Jarvis used the proceeds to, among other things, purchase
assets, pay co-conspirators, operate his nightclub in Albuquerque (Club Rhythm and -
Blues), and purchase additional bulk marijuana for distribution.

In violation of 21 U.S.C. § 846.

COUNT 2

From approximately 1990, the precise date being unknown to the Grand Jury, up
to and including August 25, 2005, in the State and District of New Mexico, and
elsewhere, defendant DANA JARVIS a/k/a Todd Ward, did uniawfully, knowingly and

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intentionally engage in a continuing criminal enterprise, in that the defendant did violate
the provisions of Title 21 of the United States Code, Sections 841(a) and 841(b), the
punishment for which exceeds one year imprisonment, and such violations were part of
a continuing seres of violations of Title 21 of the United States Code that were
undertaker. by the defendant in concert with five or more other persons with respect to
whom the defendant occupied a position of organizer, a supervisory position, or other
positions of management, and from which the defendant obtained substantial income
and resources, and the said violations included, without limitation, the following: (1)
possession with intent to distribute marijuana in early March 2005; (2) possession with
intent to distribute marijuana on or about May 20, 2005; (3) possession with intent to
distribute marijuana in early July 2005; (4) possession with intent to distribute marijuana
on or about July 16, 2005; and (5) possession with intent to distribute marijuana on or
about August 11, 2005.

In violation of 21 U.S.C. §§ 848(a), 848(c) and 18 U.S.C. § 2.

COUNT 3

From approximately 1990, the precise date being unknown to the Grand Jury, up
to and including August 25, 2005, in the State and District of New Mexico, and
elsewhere, the defendants, DANA JARVIS a/k/a Todd Ward, AYLA JARVIS, GEORGE
RIPLEY, DAVID REID, JOHN PATRICIO NIETO a/k/a “Townman” a/k/a “Big John,”
GEORGE OSGOOD a/k/a “Mushroom George,” GREG HILL, GENO BERTHOD a/k/a
“Old Man,” DAKOTA FITZNER, and RAFAL MISTRZAK, did unlawfully, knowingly and
intentionally conspire and agree with each other and with other persons whose names
are known and unknown to the grand jury to commit the following offenses against the
United States, that is, laundering of monetary instruments, in violation of 18 U.S.C.
§§ 1956(a)(1)(A)(i) and 1956(a)(1)(B)(i).

In violation of 18 U.S.C. § 1956(h).
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COUNTS 4 - 12

On or about the dates listed below, in the State and District of New Mexico, and
elsewhere, defendant DANA JARVIS a/k/a Todd Ward, did knowingly conduct and
attempt to conduct financial transactions affecting interstate and foreign commerce, to
wit: the transfer of currency through First State Bank checking account number
1874527, which involved the proceeds of specified unlawful activity, that is conspiracy
to distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1) and 846, with the intent to
promote the carrying on of such specified unlawful activity, and knowing that each
transaction was designed in whole or in part to conceal and disguise, the nature,
location, source, ownership, and control of the proceeds of such specified unlawful
activities, and that while conducting and attempting to conduct each financial
transaction, knew that the property involved in the financial transaction, that is, the

checks identified below, represented the proceeds of some form of unlawful activity:

Count | Date Check Cleared Amount Check Name of Payee
of Check Number

4 December 4, 2002 | $932.08 569 Commercial Federal
5 January 6, 2003 —_—‘| $932.08 590 Commercial Federal
6 February 3, 2003 $932.08 604 Commercial Federal
7 March 10, 2003 $932.08 622 Commercial Federal
8 April 9, 2003 $932.08 638 Commercial Federal
9 May 12, 2003 $932.08 653 Commercial Federal
10 June 9, 2003 $932.08 668 Commercial Federal
11 July 7, 2003 $932.08 686 Commercial Federal
12 August 11, 2003 $932.08 701 Commercial Federal

All in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i),1956(a)(1)(B)i) and 2.

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COUNTS 13 - 23

On or about the dates listed below, in the State and District of New Mexico, and
elsewhere, defendant DANA JARVIS a/k/a Todd Ward did knowingly conduct and
attempt to conduct financial transactions affecting interstate and foreign commerce, to
wit: the transfer of currency through First State Bank savings account number 1223801,
which involved the proceeds of specified unlawful activity, that is conspiracy to
distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1) and 846, with the intent to
promote the carrying on of such specified unlawful activity, and knowing that each
transaction was designed in whole or in part to conceal and disguise, the nature,
location, source, ownership, and control of the proceeds of such specified unlawful
activity, and that while conducting and attempting to conduct each financial transaction,
knew that the property involved in the financial transaction, that is, the drafts identified

below, represented the proceeds of some form of unlawful activity:

Count Date Draft Cleared Amount of Draft Name of Payee

13 July 7, 2004 $932.08 Commercial Federal
14 August 4, 2004 $932.08 Commercial Federal
15 September 7, 2004 $932.08 Commercial Federal
16 October 5, 2004 $932.08 Commercial Federal
17 November 4, 2004 $932.08 Commercial Federal
18 December 6, 2004 $932.08 . Commercial Federal
19 January 4, 2005 $932.08 Commercial Federal
20 February 4, 2005 $932.08 Commercial Federal
21 March 4, 2005 $932.08 Commercial Federal
22 April 5, 2005 $932.08 Commercial Federal
23 May 4, 2005 $932.08 Commercial Federal

Allin violation of 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(a)(1)(B)(t) and 2.
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COUNTS 24 - 26

On or about the dates listed below, in the State and District of New Mexico, and
elsewhere, defendant DANA JARVIS a/k/a Todd Ward, did knowingly conduct and
attempt to conduct financial transactions affecting interstate and foreign commerce, to
wit: the transfer of currency from Compass Bank checking account number 87080587
into First State Bank checking account number 1874527, which involved the proceeds
of specified unlawful activity, that is conspiracy to distribute marijuana in violation of 21
U.S.C. §§ 841(a)(1) and 846, with the intent to promote the carrying on of such
specified unlawful activity, and knowing that each transaction was designed in whole or
in part to conceal and disguise, the nature, location, source, ownership, and control of
the proceeds of such specified unlawful activity, and that while conducting and
attempting to conduct each financial transaction, knew that the property involved in the
financial transaction, that is, the checks identified below, represented the proceeds of

some form of unlawful activity:

Count | Date Check Cleared | Amount of Check | Check Number | Name of Payee

24 January 31, 2005 $700.00 1321 Santa Fe
Consulting

25 February 7, 2005 $700.00 7351 Santa Fe
Consulting

26 July 19, 2005 $1,350.00 8038 Santa Fe
Consulting

Ail in violation of 18 U.S.C. §§ 1956(a)(1)(A){i), 1956(a)(1)({B)i) and 2.
FORFEITURE ALLEGATION
Upon conviction of one or more of the offenses alleged in Counts 1 through 26 of
this Superseding Indictment, the defendants, DANA JARVIS a/k/a Todd Ward, AYLA
JARVIS, BENJAMIN SWENTNICKAS a/k/a “Doc,” DENNIS WILSON a/k/a “Big
Dennis,” GEORGE RIPLEY, DAVID REID, JOHN PATRICIO NIETO a/k/a “Townman’"

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a/k/a “Big John,” LLOYD MONTOYA a/k/a “Smiley,” GEORGE OSGOOD a/k/a
“Mushroom George,” GREG HILL, GENO BERTHOD a/k/a “Old Man,” RUSSELL
TRUJILLO a/k/a “Rusty,” MATTHEW HOTHAN a/k/a “Matrix,” MANUEL GIL a/k/a
“Manny,” MELANIA KIRWIN a/k/a Mila Kirwin, HOLLY BRUNER a/k/a "Q,”" SAM __
JONES, BILL JONES a/k/a Charles Johnston, DAKOTA FITZNER, RAFAL
MISTRZAK, MARY CANNANT, and ADRIAN SANFORD, shall forfeit to the United
States pursuant to 21 U.S.C. § 853 any property constituting, or derived from, proceeds
obtained, directly or indirectly, as a result of each offense in violation of 21 U.S.C.

§§ 841, 846, or 848 for which the defendants are convicted, and any property used, or
intended to be used, in any manner or part, to commit, or to facilitate the commission of
the said offenses, and shall forfeit to the United States pursuant to 18 U.S.C.

§ 982(a}(1) all property, real and personal, involved in each offense in violation of 18
U.S.C. § 1956, or conspiracy to commit such offense, for which the defendants are
convicted, and all property traceable to such property, including but not limited to the
following:

1. MONEY JUDGMENT

A sum of money equal to $158,400,000.00 United States currency, representing
the amount of money derived from or involved in the offenses, for which the defendants
are jointly and severally liable.

2. BANK ACCOUNTS

a. All United States currency, funds, or other monetary instruments
credited to account number 40455157, in the name of Dana Jarvis, located at Bank
One, or its successor in interest.

b. All United States currency, funds, or other monetary instruments
credited to account number 689832822, in the name of Dana Jarvis, located at Bank

One, or its successor in interest.
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c. All United States currency, funds, or other monetary instruments
credited to account number 1874527, in the name of Dana Jarvis, located at First State
Bank, or its successor in interest.

d. All United States currency, funds, or other monetary instruments
credited to account number 1223801, in the name of Dana Jarvis, located at First State
Bank, or its successor in interest.

e. All United States currency, funds, or other monetary instruments
credited to account number 87080587, in the name of Continental Steel West Corp.
d/b/a Continental Steel, located at Compass Bank, or its successor in interest.

f. All United States currency, funds, or other monetary instruments
credited to account number 2504448676, in the name of RC Aviation, located at
Compass Bank, or its successor in interest.

g. All United States currency, funds, or other monetary instruments
credited to account number 7692176673, in the name of Barbara Hanna, located at
Wells Fargo Bank, or its successor in interest.

3. REAL PROPERTY

a. 1440 Calle Cielo Vista, Bernalillo, New Mexico, which is more

particularly described as follows:

TRACT LETTERED “C", OF THE SCHLAKS ADDITION, AS THE SAME IS
SHOWN AND DESIGNATED ON THE PLAT ENTITLED “TRACTS A
THROUGH D, SCHLAKS ADDITION, SANDOVAL COUNTY, NEW
MEXICO", FILED IN THE OFFICE OF THE COUNTY CLERK OF
SOG 83 COUNTY, NEW MEXICO ON JULY 17, 1978, IN PLAT BOOK
2, FOLIO 237-B.

b. 3523 Central Avenue N.E., Albuquerque, New Mexico, which is more
particularly described as follows:

LOTS NUMBERED TEN (10), ELEVEN (11) AND TWELVE (12) IN BLOCK
NUMBERED FOUR (4) OF MONTE VISTA, AN ADDITION TO THE CITY
OF ALBUQUERQUE, NEW MEXICO, AS THE SAME ARE SHOWN AND
DESIGNATED ON THE MAP OF SAID ADDITION FILED IN THE OFFICE

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OF THE COUNTY CLERK OF BERNALILLO COUNTY, NEW MEXICO,
OCTOBER 14, 1926.

THERE IS EXCEPTED THE NORTHERLY PORTION OF SAID LOT THEN
(10) WHICH IS DESCRIBED AS FOLLOWS:

BEGINNING AT THE NORTHEAST CORNER OF SAID LOT TEN (10)
RUNNING

THENCE SOUTHERLY ALONG THE WESTERLY LINE OF NORTH
CARLISLE AVENUE, 62.28 FEET TO THE SOUTHEAST CORNER OF THE
TRACT HEREIN DESCRIBED; THENCE WESTERLY, PARALLEL WITH
AND 60 FEET NORTHERLY AT RIGHT ANGLES FROM THE NORTHERLY
LINE OF EAST CENTRAL AVENUE, 80.19 FEET TO THE SOUTHWEST
CORNER OF THE TRACT HEREIN DESCRIBED; THENCE NORTHERLY
ALONG THE WESTERLY LINE OF SAID LOT 10, 86.09 FEET TO THE
NORTHWEST CORNER OF THE TRACT HEREIN DESCRIBED WHICH IS
THE NORTHWEST CORNER OF SAID LOT 10; THENCE EASTERLY
ALONG THE SOUTHERLY LINE OF CAMPUS BOULEVARD, 86.97 FEET
TO THE PLACE OF BEGINNING.

c. 8012 1" Street N.W., Albuquerque, New Mexico, which is more
particularly described as follows:

LOT “A-1" OF THE PLAT OF LOTS A-1 AND A-2, LANDS OF LARRY
SWANK, SITUATE WITHIN PROJECTED SECTION 22, T. 11 N.,R.3E.,
N.M.P.M., BERNALILLO COUNTY, NEW MEXICO, AS THE SAME IS
SHOWN AND DESIGNATED ON SAID PLAT FILED IN THE OFFICE OF
THE COUNTY CLERK OF BERNALILLO COUNTY, NEW MEXICO ON
FEBRUARY 2, 1995.

d. 67 Willow (a/k/a 28 Quail Run), Santa Fe, New Mexico, which is more
particularly described as follows:

SE 1/4 SE 1/4 NE 1/4 SW 1/4 OF SECTION 31, TOWNSHIP 15 NORTH,
RANGE 9 EAST, N.M.P.M., SANTA FE COUNTY, NEW MEXICO.

4. CONVEYANCES

a. 1978 Beechcraft King Air C-90 Turboprop Aircraft, United States
Registration Number N754TW, Serial Number LJ-754.
b. 1972 Cessna 421B Aircraft, United States Registration Number N3AJ,
Serial Number 421B0230.
c. 1999 Honda Accord, VIN 1HGCG1656XA057214,
d. 1999 Chevrolet Z-71 pickup, VIN 2GCEK19T1X12041 14.
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e. 2003 Honda Goldwing motorcycle, VIN 1HFSC47023A207622.
5. LIQUOR LICENSE
New Mexico Liquor License No. 2599 in the name of Club Rhythm and Blues
located at 3523 Central N.E., Albuquerque, New Mexico, owned by Dana Jarvis.
6. UNITED STATES CURRENCY
a. $1,050.00 in United States currency seized from 5 Camerada Road,
Santa Fe, New Mexico on August 25, 2005.
b. $40,000.00 in United States currency seized from 3900 Ramp Creek
Road, Bloomington, Indiana on August 25, 2005.
c. $8,000.00 in United States currency seized from 9227 West Weaver
Circle, Casa Grande, Arizona on August 25, 2005.
d. $42,000.00 in United States currency seized from 05 Lauro, Santa Fe,
New Mexico on August 25, 2005.

If any of the above-described forfeitable property, as a result of any act or
omission of the defendants:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

{c) has been placed beyond the jurisdiction of the Court;

{d) has been substantially diminished in value;

(e) has been commingled with other property which cannot be divided without

difficulty;
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by
18 U.S.C. § 982(b}, to seek forfeiture of any other property of the defendants up to the
value of the forfeitable property described above, including but not limited to the

following:

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1. REAL PROPERTY

a. 9227 West Weaver Circle, Casa Grande, Arizona, which is more
particularly described as follows:

SITUATED IN PINAL COUNTY, ARIZONA TO WIT: LOT 2, OF WEAVER
RANCH UNIT 1, ACCORDING TO THE PLAT OF RECORD IN THE OFFICE
OF THE COUNTY RECORDER OF PINAL COUNTY, ARIZONA, IN
CABINET C OF MAPS, SLIDE 174.

b. 7596 Corrales Road, Corrales, New Mexico, which is more particularly
described as follows:

LOT NUMBERED TWO (2), CORRALES CLASSIC FARMS, AS THE SAME
IS SHOWN AND DESIGNATED ON THE PLAT THEREOF ENTITLED
“SUMMARY PLAT, LOTS 1 AND 2, CORRALES CLASSIC FARMS,
SITUATE WITHIN THE TOWN OF ALAMEDA GRANT (PROJECTED),
SECTION 14, T.12N., R.3E., N.M.P.M., BEING A REPLAT OF A PORTION
OF TRACT 30 AND ALL OF TRACTS 31 AND 32, MIDDLE RIO GRANDE
CONSERVANCY DISTRICT PROPERTY MAP NO. 14, VILLAGE OF
CORRALES, SANDOVAL COUNTY, NEW MEXICO”, FILED IN THE
OFFICE OF THE COUNTY CLERK OF SANDOVAL COUNTY, NEW
MEXICO, ON DECEMBER 11, 1992, VOLUME 3, FOLIO 1019-B,
INSTRUMENT NO. 271.

c. Land in Mora County, New Mexico, which is more particularly
described as foliows:

A CERTAIN TRACT OF LAND WITHIN THE MORA GRANT, BEING
SITUATE IN SECTIONS 25 AND 36, TOWNSHIP 21 NORTH, RANGE 14
EAST, NEW MEXICO, PRINCIPAL MERIDIAN, AND MORE
PARTICULARLY DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT FOR THE SECTION CORNER COMMON TO
SECTIONS 25 AND 36, TOWNSHIP 21 NORTH, RANGE 14 EAST, NEW
MEXICO PRINCIPAL MERIDIAN; THENCE DUE NORTH A DISTANCE OF
847.82 FEET, THENCE S. 49°51'E., A DISTANCE OF 2614.45 FEET;
THENCE S. 42°58'w. A DISTANCE OF 2109.41 FEET, THENCE 5S.
59°09'E. A DISTANCE OF 371 FEET; THENCE S$.70°54'E. A DISTANCE
OF 256.95 FEET; THENCE DUE NORTH A DISTANCE OF 2106.99 FEET
TO THE POINT AND PLACE OF BEGINNING. CONTAINING 82.044
ACRES, MORE OR LESS, TOGETHER WITH ALL WATER RIGHTS AND
EASEMENTS PERTAINING TO THE ABOVE DESCRIBED PROPERTY.

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as follows:

d. Land in Mora County, New Mexico, which is more particularly described

TRACT B: ACERTAIN TRACT OR PARCEL OF LAND LYING AND BEING
SITUATE WITHIN THE MORA GRANT, IN SECTIONS 25 AND 36,
TOWNSHIP 21 NORTH, RANGE 14 EAST, N.M.P.M. COUNTY OF MORA,
STATE OF NEW MEXICO, AND BEING MORE PARTICULARLY BOUNDED
AND DESCRIBED AS FOLLOWS:

BEGINNING AT THE NORTHWEST CORNER OF THE HEREIN
DESCRIBED TRACT, ALSO BEING A POINT ON THE SANTA FE
NATIONAL FOREST BOUNDARY, FROM WHICH POINT THE SECTION
CORNER COMMON TO SECTIONS 25 AND 36 T. 21 N.,R14E.,N.M.P.M.
BEARS SOUTH, A DISTANCE OF 847.82 FEET; THENCE FROM SAID
POINT OF BEGINNING, S. 49°51'00"E., A DISTANCE OF 1307.22 FEET
TOAPOINT; THENCE S. 40°09'00"W., A DISTANCE OF 150.00 FEET TO
A POINT; THENCE N. 49°51"00"W., A DISTANCE OF 1180.69 FEET TO
A POINT ON THE SANTA FE NATIONAL FOREST BOUNDARY; THENCE
DUE NORTH, ALONG SAID FOREST BOUNDARY, A DISTANCE OF
196.24 FEET TO THE POINT AND PLACE OF BEGINNING.

CONTAINING 4.284 ACRES MORE OR LESS. TOGETHER WITH ALL
WATER RIGHTS AND EASEMENTS PERTAINING TO THE ABOVE
DESCRIBED PROPERTY. SHOWN AS TRACT B ON PLAT OF SURVEY
ENTITLED “REPLAT OF SURVEY FOR DANA JARVIS” PREPARED BY
ARSENIO J. MARTINEZ, N.M.L.S. NO. 4254, IN JULY, 1972.

2. BANK ACCOUNTS

All United States currency, funds, or other monetary instruments credited to

account number 2937487, in the name of Greg and Mary Hill, located at Monroe Bank

in Bloomington, Indiana, or its successor in interest.

A TRUE BILL:

iS/

FOREPERSON OF THE GRAND JURY

DAVID C. IGLESIAS
United States Attorney

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